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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                Plaintiff,
                                                             File No: 1:07-CR-235
v.
                                                             HON. ROBERT HOLMES BELL
OMAR SANABRIA-MORALES,

                Defendant.
                                        /


                              ORDER AND JUDGMENT
                     APPROVING REPORT AND RECOMMENDATION

        The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was duly served on the parties,

and no objection has been made thereto within the time required by law.

        THEREFORE, IT IS ORDERED that:

        1.      The Report and Recommendation of the Magistrate Judge (docket # 43) is approved

and adopted as the opinion of the Court.

        2.      Defendant's plea of guilty is accepted and defendant is adjudicated guilty of the

charges set forth in Counts 1, 2, and 7 of the Indictment.

        3.      The written plea agreement is hereby continued under advisement pending

sentencing.




Date:         January 22, 2008                /s/ Robert Holmes Bell
                                              ROBERT HOLMES BELL
                                              CHIEF UNITED STATES DISTRICT JUDGE
